                           NUMBER 13-16-00283-CV

                              COURT OF APPEALS

                    THIRTEENTH DISTRICT OF TEXAS

                       CORPUS CHRISTI - EDINBURG
____________________________________________________________

ARMANDO CARLOS DURAN,                                                           Appellant,

                                             v.

REBECCA GARCIA,                                     Appellee.
____________________________________________________________

          On appeal from the County Court at Law No. 2
                   of Hidalgo County, Texas.
____________________________________________________________

                           MEMORANDUM OPINION

             Before Justices Rodriguez, Benavides, and Perkes
                     Memorandum Opinion Per Curiam

       Appellant, Armando Carlos Duran, appealed a judgment entered by the County

Court at Law No. 2 of Hidalgo County, Texas. On May 26, 2016, the Clerk of this Court

notified appellant that the notice of appeal failed to comply with Texas Rule of Appellate

Procedure 9.5(d),(e) and 25.1(d). See TEX. R. APP. P. 9.5(d),(e) and 25.1(d). The Clerk

directed appellant to file an amended notice of appeal with the district clerk's office within
30 days from the date of that notice. On July 6, 2016, the Clerk notified appellant that

the defect had not been corrected and warned appellant that the appeal would be

dismissed if the defect was not cured within ten days. Appellant has not responded to

the notice from the Clerk or corrected the defect.

       On July 21, 2016, the Clerk of the Court notified appellant that he was delinquent

in remitting a $205.00 filing fee. The Clerk of this Court notified appellant that the appeal

was subject to dismissal if the filing fee was not paid within ten days from the date of

receipt of this letter. See id. 42.3(b),(c).

       The Court, having considered the documents on file and appellant’s failure to

correct the defect or pay the filing fee, is of the opinion that the appeal should be

dismissed. See id. 37.3, 42.3(b),(c). Accordingly, the appeal is DISMISSED for want of

prosecution.

                                                   PER CURIAM

Delivered and filed the
2nd day of September, 2016.




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